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                       IN THE UNITED STATES DISTRICT COURT                                   maw _c
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA,


                       Plaintiff


v.                                                      CASE NO.      3:09CR233


CHRIS PAMPLIN,
a/k/a "Boogaloo,"


                       Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written


plea agreement that has been entered into by the United States and the Defendant. The matter


was presented to the court upon the written consent of the Defendant and counsel for the


Defendant to proceed before a United States Magistrate Judge, said consent including the


Defendant's understanding that he consented to not only having the Magistrate Judge conduct the


hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge


make necessary findings and accepting any guilty plea as may be entered that could not be


withdrawn except for fair and just reason.


        The court accepted the Defendant's waiver of his right to proceed by indictment after


specific inquiry was made of the Defendant as to his understanding of the right to require


prosecution by indictment. The Defendant pled guilty to a Single Count Criminal Information in


open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and
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statements made by the Defendant under oath, on the record, and based upon the written plea


agreement and statement of facts presented, the court makes the following findings:


       1.     That the Defendant is competent to enter a plea of guilty;


       2.     That the Defendant understands the nature of the charge against him to which his


              plea is offered;


       3.     That the Defendant understands what the maximum possible penalties are upon


              conviction of the offense charged, including any mandatory minimum periods of


              confinement, the effect of any required term of supervised release, the loss of


              various civil rights (if applicable, including the right to vote, the right to hold


              public office, the right to own and possess a firearm), the possibility of adverse


              immigration consequences (if applicable), the required imposition of a special


              assessment, forfeiture of real and/or personal property (if applicable), and


              restitution (if applicable);


       4.     That the sentencing court has jurisdiction and authority to impose any sentence


              within the statutory maximums provided, but that the court will determine the

              defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the


              court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


              sentence above or below the advisory sentencing range, subject only to review by


              higher courts for reasonableness;


       5.     That the Defendant understands his right to persist in a plea of not guilty and

              require that the matter proceed to trial with all the rights and privileges attending a


              trial, including, but not limited to: the right to effective assistance of counsel; the


               right to use the power and processes of the court to compel the production of
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               relevant evidence on the Defendant's behalf; the right to confront and cross-examine adverse

               evidence; the right to remain silent; and the right to trial by jury;


       6.      That the Defendant understands that he is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;


       7.      That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the plea of guilty entered by the Defendant was knowingly and voluntarily


               entered and is not the result of force or intimidation of any kind; nor is it the result


               of any promises other than the representations set forth in the plea agreement; and


       9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily


               made with full knowledge of the consequences and with an independent basis in


               fact to support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to a Single Count Criminal


Information and entered judgment of guilt on the subject charge. It is therefore the


recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilt and resulting judgment of guilt, be adopted.


       Let the Clerk forward a copy of this report and recommendation to the Honorable James


R. Spencer and to counsel of record.


       It is so Ordered.



                                                                /s/
                                               Dennis W. Dohnal
                                               United States Magistrate Judge
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Dated: JOLliiOOS



                                          NOTICE


       The Defendant is advised that he may file specific written objection to this report


and recommendation with the court within ten (10) days of this date. If objection is noted,


the party objecting must promptly arrange for the transcription of the relevant record and


file it forthwith with the court for its use in any review. Failure to object in accordance


with this notice, including the requirement for preparation of a transcription of the


relevant portions of the record, will constitute a waiver of any right to de novo review of the


matter and may result in adoption of the recommendation, including the finding of guilt as


entered by the magistrate judge.
